 
    

Form 9

For Cellhouse Transfer ' _* Ln» A eyapk 7 £1
Work Assignment (9. SS. ar Last Name Only
Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS
1Os 29°

Number

INMATE REQUEST TO STAFF MEMBER
To: conic + EAM: CAS Bocinaleal Date: 2.7 I~ 22

(Name and Title of Officer or Department)
State completely but briefly the problem on which you desixe assistance. (Be specific.)

\
Sete Az a\ Como iardk ALLAched

 

Please PESOonlch Got low Sine. 1 class ESyalousintc GEL YUne.

i

 

 

 

 

 

\
Sseon PCMcEedarve
Work Assignment: (> => 1 Living Unit Assignment: _©\ 7 ACS.
Comment: Unit Tearn Members Signature.

 

 

 

 

 

Disposition:

Thee coped ore eOnsr cto MSE Wy
Cod Las We Cry tfuece . ov BuL0ilnr in)
BraZ2eoZ22

 

To: Date:
(Name & Number)

 

Disposition:

 

 

 

 

 

Employee’s Signature To be returned to inmate.
P-0009b
voor CQSE-H:23-CV-O3030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 2 of 24“

 
~- Case-5:23-ev-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 3 of 24.

 

 

 

 
 
 

 

WCALOVD on. ne AM ee
ek, aasde AOE DISEO
“elke. Yo HEE, a 7
_ ae yes Mink. cai neve ee
— Ma a oR Gendoer
ce gh a ned! bcde.
_yp tans, encase : : eo. cose yo OS a
tyne eae vane @ ong Nees"
— — “on 82 0E necep nuts S01 COO BES av
et ee eased Om)
rend 5. of Fic Rs @ are SLE EHH E eee
ee hy 2 ne, CNY. 4 COME es
ements onite 4 f 7 ( athe
— Co pater OSH a sen Xe 8 sea
naan - oe SNE
pred CAA SHALE LOE een ad Leyden ce
a “caches O\et JE Coane -B ~
_—Wecist> - EAN Ses QERIVTER—————
pose nenvece Lu tho.¥/ wees ee 5 No DeSean SE
yee oy) usmda ste esse WE SES
I on. ey \\ BETES Avda: Poe. RENN. a
So 5. CAN EEE =, oer
eee wine 09s £ wo °
-~ Besos we. LONE pe
ented 8 Gs Nesey EATS
er tL v. Great a0un SS eXineed 0: BAOEDAS-
ee 2068 & EAS dC 4 a ine. :
Gt icaRs Brood OUNEIde « USE pA céustd
ee i Vw gov Sie 8 OS ASSET GAY bok
ee —Patd- Ee a on 4 Got. om Second SE BRE \
= a " ) oc
ee eee resins Sh ‘paca Pecedied= 8
WARES 6
'- - Case 5:23-cv-03030-EFM-TJJ° Document 1-1 Filed 02/06/23 - Page 4 of 24

RECOSEd te See ak me al Wee Ged hee, SNES.

 

 

 

orlis Me SHEA, CEPRP AIL OE Ankh MAE @ ALC ASS

Sem. ) ended MEER SACS CREE ral Cede ZEW Shih
Veusene? plo officers, Fod\oused Ste peng
pestncal AAA PEalemAcA mA CEALE WORE HD COE

Aan) Seo oka

CE.

Ts UWS conlley AL CW, SECOncs NEBUE, ONE. a hed

of Pasa % sh ZO rndo, Anis Wr. Weve of Cy COME, ( cvcdn

See \ oak MIEch cal nee AS |)

ont: Hom Ins oEess hac loded oy POM BS

Mand la WREAKED Of ond Waeds 1S 36 Sones nak

ENE O. ABO BSoni, I, GAS ley CECOah Ze ne

_MECES ou, Cor a dockotss akbeattiond. (Wat AS an DEK D _ ea
eutn Mek, CNG. HOE, aa WA VW ani Cha VA 5

. Rigo Ane Cauels sual MOREE tov. & QU SONER. Ce
Shad a Se.008 Mécdical ned 1 M
E_OUSONETS Comba Suan Cornch CESS wah Koen
Pea eS OR ne INIMECES SAR todd \uraabhions

 

 

c Cecluee te Weak _— _

 

Cenace., 43° FE, Sci LOA, WOU. (ase CAR. 2 -2osk)

A > 4 Cen house abMicets GE6LS, ne to. ao oy SEAR EKA: vga

DECIR ey, grctoo ko CEStAL Al TOY CEMVE, Onto)
Zolt
' Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 5 of 24~-~--

 

S OVO cEeS Cor mb asobla Woe Dhielel, CSs\earal ME

MMos. Guach Sneauee A Anes, tal seve) Sram cmd
CAME 15 A GELIDECALE inl S Cee cE ho Oy on gclvcak

NEAS, NEQLECEICE OMA CRUEL Anded VOWS PonhSinmcee —_
ASR. DhAnidinio, OASIAE 1%, CEN WOE SGA 2 EBIRES
Ala Moo, CANE ANIO seh. Cry GUand stoma, Je\od AANA ba

URawds tare i ASa a WwlaAM oA OF oY) Ch
AMENACEDE Bil «..
Se@ AERBWE

 

HOA ON 2-6 ZZ Oh DLS am WECAIGE LA. Wore Ke
Inne Samet Eevee ‘PASE ALE | ustegeds ee _—

 

 

 

¢ nb _TTTelh 16 alah Aa EXCISE ko. sates

 

 

 

Pé—ork Gas zapons gustesnon” eta Wine As. ———
nt A 2b 21-2\Ore C89 Oy. of ASC Olisacy, Reeves |
a _edeched ) ra Ning hacks of Woes e8i9otis © 9S ——

av boc hur, ANG Sorted Wner ad to Mn€ Caokauwst'’S

+ office. SEE Nabe op. add O@obECkvond AQEC ASE A. a —

 

 

Aneta Resin, Goda rEIGEE uss Mayate, 80 Rot é
satho lranlcdi ake, Vinge.

 

 

 

 

ENERY ASC Lol ARH RE goth Wied neve Ge J
oe 5 Seton Conbwane” wre: = Soren: EEN Oe
ort ched on KESIAES ne AM AciNEd

4 of&

 

 
 

nnn CASO 5 23-Ev-03030-EFM-FJd-Document 1-1 Filed 02/06/23 Page 6 of 24

SC GINA, epee has No one bs Ao Wohin ny
Vaud of Wrage” 85 LY Zama Ke WAWace
CORAOYD: \ .
PrEQNAES Woke PAK AUTESD Veeoes |W Of ey
aes Consvemarna Canbncktons VS ECE =
IRD Vd PESSESa108 oy AcCHne\ OC. ET Q\saned &
Oxrovand GoSEeck Bret Could Not OE LAE EEA OH, ONG) CERS
Closons You yo eae on CoUkd VE lnceén ato9s OZ AN a,
ZS Uses alok DU Gpose TH WE wh QOSHESSvGN of)
Lk. Boner WIPE S EAGUSE ot XD ANS WE cLRS
ho Fe\\ous “ SEAREe MOR) SEGWAY OTSA NO GONE ws
eA CEM, ZED Rad ME ANA AWA HE WO BS VS MEAN CANNY,
AZEEX (NG Cue te me VERE EAE US THM of WEAPONS
possesion) 15 Nok A ZEASONAIE EXCUSE” Yo AEIY ME
QED cal AZEPNONEALA HECAUSE SUIS Hanus, A SEZ. ET
LORS pasly, Conic, Lento, Ons Yre Ycot ONO ond
me ction MOMMA URINE Ani WLOOd: 4 > THANE @ Watery
of SEARS, FAKE B82 RE. MEA TaAtionl AAA Nad &
SiG RAKE PRENLOUSy op 2-44-22. AL Vrat Yime © wns
Polina, Toy Whe Cz-6° 22) Brld WAS wor ® Wace’
{eR wlo’ wi EOSSESS OW of any
Weapons, OFMees A WoEeaely CFOSES Yo ao
Any Wore Ye \nele me Uo HAD MOVE OLE “4 CARES )
— Ngeleched to do WERE BO woke SE CIMA CINEEKS ho
CONECL On) WIMALES. WEF ACE Cudrcn vb SECURE E@oto car)
psd as a GESulk had 7 AEARED Nutbindo, Coy NEAL,
© Ee ein SU@andg,. PY VOLER WACK AAA Class CALSrda TE
“FS pak up blood, SO HIM Makin, Ye Keak Shee bo Stnost
ANN OF oH RAMA OTWE CEMESES HO T can ELBA oper
press. Pi case C&sponich Latina He 1 CAIENAAZ clos
Soft

 

 
© Case 5:23-Ccv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 7 of 24

 

£Shaloli ained_ ial Whe Fazer 7A CESpoOASS PLOCEEAE.,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

& of &
a“

vase PEN OSOSOERME TIO Document 1-1 Filed 02/06/23 Page 8 of 24

“yy New VAY \ 4 \\ / 7 - weer NSN
For Cellbouse Transfer i} ie Aye TW Ie Bi a VE

 

Work Assigament ae wi

 

 

Interview Requests \ IR OCT 14 V7
KANSAS DEPARTMENT OF CORRECTIONS ee
BRS ce cecccseeeee neces LOS Zo
,  f Numb
ae Ty INMATE REQUEST TO STAFF MEMBER nner

         
   

= Se AS DePs pte Pn watch e = ate: \ - oj ° vA
(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.

  

 

 

 

 

 

 

 
 
 
 

 

4 seh yen. C ‘lw vdeo. aA nad yo ‘ 4
ni) Meek Ae ES ORE oysb-onainke eeoulae 2 mune Se

~ = ve

on
Work Assigament: L. i Living Unit Assignment: Ca: “Bake (>
Comment: Unit Team Members Signature: WAG Acrlrwinn)

 

 

 

 

 

 

 

 

 

Disposition: TON gp erhal poss cA. the issee of rounds. with ste a

 

 

 

 

 

To: Date:
(Name & Number)

 

Disposition:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employee's Signature - . . To be returned to inmate.
P-O909b fol te

 

 

 
Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 9 of 24

INMATE REQUEST TO STAFF MEMBER

To CDV 6. C\EMonIS Date: 2-G- 22.

(Name and Titie of Officer or Department)

 

 

* Unit Team Member Signature To be retained by Inmate |
~~?
Form 9
For Cellhouse Transfer Lea Vent 7 EL
Work Assignment fy. 41 Key Last Name Only

 

Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS
VOSS 2S

Number

INMATE REQUEST TO STAFF MEMBER
To: COD\ CC. CAGMoONS Date: @-G- ZZ.

(Name and Title of Officer or Department}
State completely but briefly the problem on which you desire assistance, (Be specific.)

Cases SEETECekiool. PECe: Ne Qtokmce\ oe @ MeN Cale Ns oh 15 CANE) Gnbel Ye

   
   

AESESEA rack 4 oft, CRS AE Wo CESVZ Grol OH COME , Ve me Wat Sve) ‘oxo Sefer,

 

ORE CA OMENe. Aad’ COME ib, CESACEdA CAE SO Wak plik. «nk IUDNEe My ASSES OE.
ee
mech cal, jaf VS SAreds ECan es GECAOCAN elok Seiia ck ak a AS enn oak 2 Ate?

   

 
 

SO AK AEE medion)
REE Dahe See me 3 hao Eee Pe BAS AM On Deg" DZ. .
Work Assignment: CrP, Living Unit Assignment: AQ VAS QD

Comment: Unit Team Members Signature: ALL 2G }

pisposition Be Lt RK. bdallace Eatcy. Wes Notrweade unless mate :
Lylson bias cestrainect doe to poast histoey of Ides eOr-S POSSESS 1D» \

 

 

 

 

 

 

To: Date:
(Name & Number}

 

Disposition:

 

 

 

 

 

 

Employee's Signature To be returned to inmate. —
P-0009b

 
Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 10 of 24

INMATE REQUEST TO STAFF MEMBER

To: C Ss\ Cleeionts Date: On S7 22.

(Name and Title of Officer or Department)

 

 

Unit Team Member Signature To be retained by Inmate
Form 9
For Ceilhouse Transfer Co (Son EA
Work Assignment M.S. %, Last Name Only

 

Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS
OsS2s”

Number

INMATE REQUEST TO STAFF MEMBER
To:_(\ Cl€mendlS Date: lor S72

(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.)

  
 

 

       
 

    

 

 

 

 

 

on e\\.. Kank wens? Ue soy ani Ap Case to hn Sova. Wi ne Pesos nk
Meee Sroe or CENE Ad Mngk Soe, Olerde? Oe nei Lene * 120355 ned AO Inalf atee,, aif
Ge Ee to Wnt “ . uk’ ek 25 Now MEd poh ORACL ey LEC WE LOA a Sant S to. :
AONEIEA © : On Second SEE. 4 oa V wan) Q\case “Config Sng aloe nade”
Work Assignment: «>. S32. Living Unit Assignment: 1) S-
Comment: Unit Team Members Signature:

 

 

 

 

 

Disposition: FT Cg! Ci Clenprs howoe t3 te Cow Con Lien the above, Matement _
tobe aceurte. L6(0C Le a Re 107. 222t

 

 

To: Date:
(Name & Number)

 

Disposition:

 

 

 

 

 

Employee’s Signature To be returned to inmate.
P-0009b
. ,Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 11 of 24
INMATE REQUEST TO STAFF MEMBER

To: CSV CC. CAEMONS Date: 2- & 22.

(Name and Title of Officer or Department)

 

 

 

Unit Team Member Signature To be retained by Inmate
Form 9
For Cellhouse Transfer Age VE od EA
Work Assignment MS: Last Name Only

 

Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS
NOS 25°

Number

INMATE REQUEST TO STAFF MEMBER

To: C.S1 CAEMONS Date: Zr b" 22.
(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.)

 
     

VAGUS Ealtvse tn wc’ OVE

© Ex \ OgeedAni- 6 Grae Meds cally

AS Sestak ne. @Mee NER MEAL cs ASGESIOEM Aled ming VES ath SARI PAGASE

a
CreniSigen Yaak © ce\Wesk wd ADS oC EAL Avs inc. 2 QU Sine <= add Yelp Aalch
fy ,

Cw Oal oo sine Farkcd Maer LK be NE fm WOE, BG te we mk CNC Poros Coal

Cle Amick Cente MEA cal toy Ye RESO Vind ts ek pata CAPE ONES anid OAc
Pez inh - cA e CALIES Fe GOSERNE CE Zeek ehoBinlS WEL MECN ASsnoarvenlt “7

Work Assignment: (9 -«."@. Living Unit Assignment: PE VAS

Corament: Unit Team Members Signature: (rBC.. C4

w/

 

 

 

 
       

Hee above a fect Ghee

Disposition: T Gew Co ats . ft pnb lesS®
opaardiaa blaad on lamete W)rlsens 1 SieOr.

 

 

 

 

 

 

 

To: Date:
(Name & Number) -

- Disposition:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employee's Signature ~ ase ~~ + To be returned to inmate. “
P-9009b re

 

 
 

Case 5:23-Cv-03030-EEM-TJJ Document 1-1 Filed 02/06/23 Page 12:of 24.1...

‘Health Services Request Form

 

‘| understand that my requesting health services does not necessarily mean that | agree that | should be

“Date of Face-to-Face Visit: “2-4-9 ad Ceol ick od DATO Strode dk

| Fes Charge_| --$e-a0- -- 7 ~
Comments: Probable. Dost contlss Ve: syndiome ofler pitting! henc

 

‘ a, . For Medical Use Only
, Sdio para uso Médico
Date Received: | 7 /7{0L

 

 

 

 

 

 

 

 

 

 

Time Received: { L{2
Print Name (Imprimir nombre): Waren Andel Seah EN
Date of Request: 7. An 2
ID “WPS ZS Date of Birth (Fecha de nacimiento): sy-u;~ S|
Housing Location (Ubicacién de la vivienda): QtIZS

 

  

Nature of problem or request (Naturaleza del problema o solicitud): - Pestinade sete!"
TL Aled oS G tamat Sick cal dhaked 2: 2z. Gane Ge HEA Woe EL

 

Maia Spun Nien 3 On ve ape Sen Wo Se aye Sim B86
cr aM ASS ce ody
ON BL A, sab Mo oh Bes Naateogh ee “aN cf RE ES Ceeens “es Me
| consent to be treated by health staff for the condition described. Qt ‘
(Da Su consentimiento para ser tratada por el personal de salud para la condicién descrita. ye.

  

       
 

 

assessed a charge for healthcare services. If | disagree with any charges assessed, | understand i may
file a grievance with the Warden as per KAR 44-15-101 et seq. | understand that a $2.00 fee will be
assessed for any sick call visit and any non-emergency visit to health care staff if it is not a follow-up
visit or referral.

({Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
acuero en que se me cobren cargos por dichos servicios de salud. Comprendo que, en caso de no
estar de acuero con el cobro de algtin cargo, puedo presenter un reclamo ante el Alcalde, de
conformidad con las reglamentaciones del KAR 44-15-101 st seq. Tengo entendido que el personal de
salud cobrara un arancel de $2.00, por cualquier visita a uni enfermo o visita que no sea de ugencia, si
no se trata de una visita de sequimlento o por una derivacion.)

_« Patient Signature (Paciente Firma)

Place the slip in medical request box or designated area.
(Pon este articulo en la caja médica u otra area designada.)
Do not write below this area. (No‘escribe debajo de esta area.)

ae

(Original: Medical Record, Yellow Copy — inmate/Patient, Pink Copy - Business Office)

VECO ENE Auta A SN Sats ead Poak TAOErG ieboy xX CeDotrgd cal ne sycid,

_ Bbscomeiar bat? kno: 6k

 

(The area below is not to be used for education, counseling or documenting a clinical encounter)
Triaged by: _ Vv HS ee 0 Routine O Urgent CM Emergent

Date: Av) uA FP? Z. Time: {7739

Other:

 

Response —_ (to be completed by Medical Staff only}
intial ONurse Doctor (Dentist O Eye Doctor [T)Mental Heath | CARNP
Appointment. 1 Nurse oO Doctor Oo Dentist Oo Eye Doctor | o Mental Health _ IKARNP |

 

tad, Ve. 2-22

 

 

Staff Signature Date

 

a

Centurion: REC- O41 3KS
07/01/2020 ° on

     

“centurion:

 
-Case 5:23-cv-03030-EFM-TJJ Document 1-1

4

t

  

   

 

 

 

 

Filed 02/06/23

 

 

 

 

' WILSON, THOMAS 70525 1of2
= So ur ea go 15) 204
Bat . RX # 4989
2= IBUPRE feo ye) Dee aes
ME 00904-6749 7_5 MFR: MAJOR

== Qty: 60
=—— TAKE TV ABLET(B MOUTH TWICE DAILY
== WITH FQ@ODKS NEEDED
fee bE WILSON, THOMAS ATY: 60
rape ALF inUPROFEN 200MG TAB RX # 12044999
She petanees F mee sass rilest fil ti
Slonpaiemeoe e ae DISP: 02/45/2022 tl itt itt
EPRESCRSBER: Til it

» SKNIPP, KELLY

 

 

Page 13 of 24

 

 

 

 

 
Case 9:23-cv-03080-EFM-TJJ Document 1-1 Filed 02/06/23 “Page 14 of 24

‘Health Services Request Form

 

pT as x For Medical Use Only +
“ Sélo para uso medico,

 

 

Date Received: |L\— \ fu.
Time Received: |) iit)

. | Print Name (imprimir nombre): TRS mae Laisa: EL

Date of Request}. 2=&- 22 JO! Zn am

“lipkt Jase Date of Birth (Fecha de nacimiento); <S-ai > Suh

Housing Location (Ubicacién de la vivienda): At iOS : :

Nature of problem or request (Naturaleza del problema o solicitud)-—: INRA 2 DEM GESS Ont
2-G2L, ACLER (Hy DECONA SEZULE TNE WEA 9A) Meta, Up lod

Jughead TE Co04h Add My CHES. WORAS EAN OA Wohnen a Reatine.

CAAT. CIRASE he SEES SAO, a

 

 

1

 

 

 

 

 

 

  

 

| consent to be treated by health staff for the condition described. oO
(Da su consentimiento para ser tratada por ef personal de salud para fa condicion descrita.)

} understand that my requesting health services does hot necessarily mean that | agree that | should be
assessed a charge for healthcare services. If] disagree with any charges assessed, | understand | may
file a grievance with the Warden as per KAR 44-15-101 et seq. | understand that a $2.00 fee will be
assessed for any sick call visit and any non-emergency visit to health care staffifitisnotafollowup |°  . BR
visit or referral. - Me

(Entiendo que mi solicitud respect de recibir servicios de salud no necesariamente inplica que estoy de
acuero.en que se me cobren cargos por dichos servicios de salud. Comprendo que, en caso de no,
estar de acuerd con el cobro de algtin cargo, puedo presentér un reclamo ante el Alcalde, de: . -—
conformidad con Jas reglamentaciones del KAR. 44-15-1071 ét'seq. Tengo entendido que el personal.de | -
salud cobrara un arancél dé $2.00, por cualquier visita a.un effermo ovisita que no sea de.ugencia, si; | |
no se trata de una visita de seguimiento o por una derivacion.) om . “Fe

4 i ‘by 5 “s
* i ie Patient Signature (Paciente Firma) veel

Vay

 

 

 

Place the slip in medical request box or designated area.
_ (Pon este articuio en la caja médica u otra area designada.)
‘Do not write below this area. {No escribe Gebajo de esta area.)

 

 

| (Original - Medical Record, Yellow Copy — Inmate/Patient, Pink Copy — Business Office}

 

 

 

 

 

|) Je The area Poboisogt GS pee education, counseling or documenting a clinical encounter)
4.” | Trlagéd by AR mA MAY Routes OUrgent - ‘GD Emergent:
pate, fim, OOD ee
se] ooge3 + i =

 

 

: Of -ace-to-Race Visit:\ TOF eee gn geen

 

  
      

 

 

4 - Response Recommendation (to be completed by Medical Staff only}

| initial. Nurse “1 Doctor CO Dentist © Eye Doctor C Mental Health O ARNP

Appointment [Nurse 1 Doctor GDentist OO Eye Doctor © Mental Health ASARNP-

os Fae Charge aif $2.00 sence oo cee EO eo ce epee tae cet gee te entemmcnce fie

, Comments: - ae oe : , - 4

“Chas ba. oboboa ky poe 4Ae'ck Adis Coos Sirrtloe
eA ee? BLE) 02) pz {1ar2.

  

 

 

 

 

 

 

 

 

 

aoe =/ 7? StdfiSignature Poo ate
Centurion: REC-013KS I
-- Q7/04/2020. i ere oe eae

he cee s .C@nturion.

     
‘Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 15 of 24 .

f

WILSON, THOMAS 70525 10f1

= TOT RA GLURONS, LLC, 416 MARY LMIDEAY POtK DR ast6 FRAMKLN Te 1
_ 1-877-826-5408 | PAX: 1-666-920-1607 " RX # 11995428

Sam ALPHA-LIPOIC ACID-GoOMG CAFEDG).

 
 
 

47469-0044.72

=== ary: a0 RAL: 0 DOs: Sarge,
=—— TAKE ONE CAPSULE(S) BY MO AY
ib

ERPR TC. / PH, .
‘Statazo72022 [i

| ZOISP: o2708/2022
1 FSlop: 03/0av2022 A
t

: EPRESCRIBER:

 

{ SKNIPP, KELLY

 

 

 

 

 

 
Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 16 of 24

 

orm 9

 

 

For Cellhouse Transfer ‘ be ~¢
‘Work Assignment OV, Sys f2 Last Name Only
Interview Requests
KANSAS DEPARTMENT OF CORRECTIONS
10.9 25°
Number

INMATE REQUEST TO STAFF MEMBER
Tory kid Yea. pe £8 Date: 41~4- 23.

(Name and Title of Officer or Department)
State completely but briefly the problem on which you desire assistance. (Be specific.)

  

Ste Aafia noes SSPE 7
"he. Cian wh : ©.

 

 

TA Ee tD Noe enna?
Work Assignment: >.2. Living Unit Assignment: At wh"
Comment: Unit Team Members Signature:

 

 

 

 

 

 

Disposition: “f. 1 i (As [cs efpmtl

 

 

 

To: Date:
(Name & Number)

 

Disposition:

 

 

 

 

Uyo —

Employee’s Signature To be returned to inmate.
P-0009b

 
x

 

* . Case 5:23-cv-03030-EFM-TJJ D - | oF
©. ocument 1-1 Filed 02/06/23 Page 17 of 24 RIG

- KANSAS DEPARTMENT OF CORRECTIONS INMATE GRIEVANCE FORM

INMATE COMPLAINT

 

 

lomate's Name _ | Auameass ls \sperl> \ Number 705 2.9"
Facility &.. C.& Housing Unit Q* 25° Work Detail @% %,(@%. 0

 

NATURE OF COMPLAINT BE SPECIFIC. (Inclide names, dates, places, rules, regulation, etc.; how you have
been affected and action you believe the Warden should take.) Use additional paper if necessary. ATTACH DOCUMEN-
TATION OF ATTEMPTS AT INFORMAL RESOLUTION PRIOR TO FILING THIS FORMAL GRIEVANCE (i.e. Form

Ys or other correspondence and response from staff member). Picaac. SEE, @3 _
VEN ANCE
Comprantt A\kactea \, x

Nate this report was given to Unit Team for informal resolution (to be completed by inmate). 2-22-22

 

UNLIE ‘TEAM RESPONSE (Complete and return to inmate within 10 calendar days.)

i
/ his So ftaLtorn will be revieweck url

Stale,
yl) Lo— 2-25-22

APT.
Unit ‘ham Signature Date

INMATE RESPONSE (Complete and return to Unit Team within 3 calendar days)
am satisfied with the Unit Team response and wish to withdraw my formal grievance.

id
1 am not satisfied with the Unit Team response, and wish to forward to the Warden's office. (This must be done

 

    

og PBL Cts htas co 3-7 22

rmate Signature Date

 

“WARDEN RESPONSE (Complete, attach response and return within 10 Working days.}
Date Received HAR 1 1 2022 Date of Final Answer TAR 17 2022 Date Returned to Inmate

 

Inmate's Signature Date Unit Team Signature Date
If dissatisfied with this response, the inmate may appeal to the Secretary of Corrections within three (3) calendar days of
receipt of this decision from the Warden.

 

TO _BE COMPLETED BY STAFF ONLY

Grievance Serial Number

 

 

Type of Complaint (Item 4: Code OL-75)

 

Cause of Complaint (Item 5: Code 01-30)

pe of Response (item Ga: Cod 02,08 or 09)

1 —_— Oe ™“. ee

 

 

 

 
» Case 5:23-ev-03030-EFM-TJJ~Decument 1-1 Filed-02/06/23-"Page 18: of 24

i “6 ‘ OD Trae, ag .
j . 2 .., ee. “ as
PEE of Creces mage Rady 3 Ne S89 FEMA Coal
. nm,

bake Ty Node
WR checks walla! OS
CEM guge MAE rola

3. AOA NEqeehkedoting

Toema Cou, (see

THESE 2 oC,

ne
BE Wee erence )

CE, QE Andel aid Lh

/ TRis iy et Ve
jdches Auld arel WV : S MEMEKED Unece
ANE TWAS havin aE: ve MEK A Carley
nted. Wg Ly WO MEARE, ace ks
ihe he PESh kine
WS Combizes\ Kava

CU \ =
somes . oto, se \ COKE Gal Yvasy LAA valet
; Phos
kee, SOS cees WERE CS]

Kmathee, ME kK,
“AT Anded COVE Vand o: Clooeeks

JES. Uoas, Dac, PreK,
‘ot a ley ru dk LA, ROWER KY, WIAMMAcE

SEW ANA BEAL ye
Renloher. SACAL Arc i

vaho CAaakic .

CCA gE
ela aA AY. PAA ALOU BF 2A
Case 5:23-cv-03030-EFM-TJ3-Document 4-t-~ Filed 02/06/23--Page
a 123-CV-

Rha a PAS Mstae of WER Borbts, POSSESS ond. TheeeQuc
- Esso ONS SECU SHALL DoRh SNE. OUESLAE TAU CEN Andeh

 

aloha ME AREY ONL Lhe Clear. sah EMH CUINS CO AE, WARE
Conerens, Sharinlo, Mors Cine, onl FN COM IOOY yded Valo
“Whals SE NAA A Second MEZRE, |
L PER MES KECAMoR, Medical % DECORA, PCS OCA |
THA MEDAL Conddrdy ond NS CANES Ald Me SfSenace Wohi Rng
. mearcat PFoblem 15 alot POS cay, alae YO. Gone NO. WINE door ty .
“es CLSNCAined So, NE cans Reeve MEA CAY BLED Gal Vierced
ley SEMLE 1S te We Coleg ber D of SED ARE hy Eablee. oy
ice wn Wine Slated ise sata, CECA ) TEkRaWES
(INE BO. MEd cay ABLE Cand PES DERM, FECAL me,
NCL ohERE Uk Ying, PENEEQALION Mead emt & SSC,
[peotocal PEO CEEMUEE oes Wh shake WOR Mec ORL Og. EUR
. | PAG. CRAM anbeat Connchionl of. Ps00). ASCO hae,
‘ns SNOB. OE LAS onl Wr FV 00r nesinbe, oh, iE DiS Zones,
NaeRely CONC) ws, SHAKinNde, INO Kane, tad, My SYN NOMIL antel
. ‘olond SO Weve 18 le USA OE OAS POMS CAG @lale ty Come,
bo Whe clooy_ Ye Wor RED Carlech, VRERRE SeoRCe@bion
| ECR 5 Eady SEN. Peoheca ANOVA VE VacEnt Comadvekech
. Ne SS Solel ave, gece. ENE OE cal, \eeeaimett, 7). USNS
ony ather (ove. Ant Hens) of MAH nde Oa Mog Croee. add
paws WAS HE Ooie (ow We nel ie sf pay Cee ) be
[ews if Ane, (an,

 

_ Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 --Page20-6f 24

4 Cee ARG Re MH OO ORME, Yoon’ ANG Valoccl), Come Ay

he Goat, ger Col ed, ME ANA CECVEVE MEedreal HE\e,

Yay Ub Robeek Ke Gaatlace Kaniale COL Chhack Glemonls

. and olner. SESE) OMG cers, CLASES, pork Ay Noi
AeARESBLiON SECU, ® MEcica\l VRorkocm (Lisinent CAEACY,
x LoS, POY S1 cAy, VA ADVE Fs Gane bby Une doar Aw ASE

Resear déd ) @vNd CEASE? MEM CAL ALA YS A wiolakion of Cam,

oO

: feds,
1 O. AMEN MENS Bcink bs CECeEvE” YRogee EY AN

Vesa oveath ENS ALSO AawWlabvoad Of EMEC O2- WR
Code of Eloncs AS ak shales”,

! ae: ees “i EONAR: 5 TM, Qonkdacnentie AT oo Sees |

hs DALE CIARA UVES Anld ova dkindk Qa SAMLORA MEd GEE of |
ORPRELS 100 OF vebbvernrcdediond, lence ot avsardee. oF er A,
KER SE CHER ALA leery GOAT Anda Workload Me

li

be “xe Ant VA PER pONVZE MG Gack Moak x. AON POS OVE? Unc

. Anes Of OCVEIIERS, Ande) La) NOS AloLSE Lnak POWER wd andy,

a

Lae! -.

LA. Robey ©. Gomllace wislaked EDM Ameslamendts __
Case 5:23-cv-03030-EFM-TJJ~Document-1-1~Filed 02/06/23" Page-21-of 24

~ -Cometas ih
hk om Oye
lea PQA WLS hun

. PEQorkes baat ne

“ng PAPSEZES oro!
ME RS WE Shasee, WOOMOCKS Ce ES Gothia
i.

Uh. Leseitace. akin y bE Ber

MALES Wh Hyg, VG -clays ¢ \. ms SBook Yas
ke ESkaboWehea .
PROC eed OgE DO es “ Wane Tey “

RAIS dey,
. Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 22 of 24

El Dorado Correctional Facility
1737 SE Hwy 54 vat ; S AG Phone: (316) 321-7284
P.O. Box 311. Fax: (346) 322-2018

Ei Dorada, KS. 67042 Department of Corrections www. doc.ks.gov/facilities/edct

 

Jeff Zmuda, Secretary Laura Kelly, Governor
Tommy Willams, Warden

Date: HAR 1 7 2022
To: Wilson, Thomas #70525 A2-125

Subject: Grievance dated 2/22/22, CA22595

Findings of Facts: Your grievance was received and a review into your allegations has
been completed.

Conclusion Made: After a review of the applicable documentation, it was determined
the response provided by UTM D. Lewis is appropriate regarding your issues.

Action Taken: Appropriate steps have been taken to ensure the process has been
properly followed.

Pursuant to K.A.R. 44-15-102 (3) (B), you may appeal this answer by submitting the
appropriate form to the Secretary of Corrections by mail.

Dre LE rm

Tommy Williams, Warden
El Dorado Correctional Facility

Cc: file
Offender
UTM D. Lewis

 

 

 
. Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 23 of 24

é

APPEAL OF GRIEVANCE TO SECRETARY OF CORRECTIONS

 

 

Inmate Namé:_\ oenes (2 9. \Soni- £1 Facility: SV yoomrada Co@etchontd Bae ty
Inmate Number: “IO5 25" Grievance Serial No. CLAZZ5945

(Attach grievance report with Principal Administrator's response or explanation why Principal Administrator
is bypassed.)

MAILTO: Kansas Department of Corrections Date Mailed: 37 (&- 27.
714 SW jackson
Suite 300
Topeka, KS 66603

 

Tell the Secretary what you feel the Principal Administrator should have done, and state what action you

believe the Secretary should take. (Use extra paper as needed.) PAN PIE QAM Bearok Shout
RANE FEM MAbEed LA. Rolpeek Ke waAllacé anda T bed He Steet shouted Ceweve
LA. Bolyeek Ve waallace LIS dU Es AS A KDWd.c. EMP IOCe

eon, Whores E&Y

Signature of Inmate

 

 

DECISION BY SECRETARY OF CORRECTIONS (to be completed and returned with 20 days)
If applicable ~ Confidential File No.

Date Received in Office of Secretary of Corrections:

 

Date of Final Answer: Date Sent to Inmate:

Finding of Fact:

Conclusions Made:

 

Action Taken:

 

Signature of Secretary of Corrections

 

 

For D.O.C. Staff Use Only
Type of Response (Item 6b: Code 01, 02, 08 or 09)

 

 

DC 090, Effective May 21, 2014

 

 
‘Case 5:23-cv-03030-EFM-TJJ Document 1-1 Filed 02/06/23 Page 24 of 24

AZ \49

Grievance-Response on Appeal

FACILITY: EI Dorado Correctional Facility
INMATE: s 0070525 Wilson, Thomas
GRIEVANCE NO.: CA00022595

DATE: March 30, 2022

FINDINGS OF FACT

The response provided to the inmate by staff at the facility is incorporated herein by reference and
made part of this response.

On appeal, the inmate offers no evidence or argument that suggests that the response rendered by
staff at the facility is wrong.

CONCLUSIONS MADE

The response rendered to the inmate by staff at the facility is appropriate. The situation is being
reviewed. Staff have.been addressed about frequency and completion of their rounds for:well-
checks. Medical staff was present, and you received medical treatment.

ACTION TAKEN

None further.

ee . eae
Darcie Holthaus

SECRETARY OF CORRECTIONS DESIGNEE

 

ce: Warden Williams
Image: SOCRESP w/attachments

The original response on appeal and all attached documents were mailed to the inmate by way of
United States Mail on

 
